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                           United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION

UNITED STATES OF AMERICA, ex rel.                §
JEAN-MARCH EICHNER, et al.                       §
                                                 §
                   Plaintiffs,                   §    Civil Action No. 4:19-cv-524
v.                                               §    Judge Mazzant
                                                 §
OCWEN LOAN SERVICING, LLC, et al.                §
                                                 §
                   Defendants.

                          MEMORANDUM OPINION AND ORDER

       Pending before the Court is the United States’ Motion to Intervene in part and to Dismiss

in part pursuant to 31 U.S.C. § 3730(c)(2)(A) (Dkt. #163) (the “Government’s Motion”). Also

pending before the Court are the following Motions, each of which is impacted by the result of the

Court’s decision on the Government’s Motion (Dkt. #163). These Motions are:

       1. The Trust Defendants’ Motion for Partial Summary Judgment on Res Judicata
          Grounds for Claims based on Conduct through February 17, 2017 (Dkt. #161);
       2. The Trust Defendants’ Motion for Partial Stay Pending Resolution of United
          States’ Motion to Intervene in part and to Dismiss in part Pursuant to 31 U.S.C.
          § 3730(c)(2)(A) (Dkt. #171);
       3. The Relators’ Rule 56(d) Motion to Defer the Court’s Ruling on Trust
          Defendant’s Motion for Partial Summary Judgment on Res Judicata Grounds
          for Claims Based on Conduct Through February 17, 2017 (Dkt. #183); and
       4. The Trust Defendants’ Motion for Leave to File Sur-Reply in Support of
          United States’ Motion to Intervene in Part and to Dismiss in Part Pursuant to
          31 U.S.C. § 3730(c)(2)(A) (Dkt. #197).

After considering each Motion, the relevant pleadings, and the applicable law, the Court

determines that:

       1. The United States’ Motion to Intervene in part and to Dismiss in part pursuant
          to 31 U.S.C. § 3730(c)(2)(A) (Dkt. #163) should be GRANTED;
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           2. The Trust Defendants’ Motion for Partial Summary Judgment on Res Judicata
              Grounds for Claims based on Conduct through February 17, 2017 (Dkt. #161)
              should be DENIED as moot;
           3. The Trust Defendant’s Motion for Partial Stay Pending Resolution of United
              States’ Motion to Intervene in part and to Dismiss in part Pursuant to 31 U.S.C.
              § 3730(c)(2)(A) (Dkt. #171) should be DENIED as moot;
           4. The Relators’ Rule 56(d) Motion to Defer the Court’s Ruling on Trust
              Defendant’s Motion for Partial Summary Judgment on Res Judicata Grounds
              for Claims Based on Conduct Through February 17, 2017 (Dkt. #183) should be
              DENIED as moot; and
           5. The Trust Defendants’ Motion for Leave to File Sur-Reply in Support of
              United States’ Motion to Intervene in Part and to Dismiss in Part Pursuant to
              31 U.S.C. § 3730(c)(2)(A) (Dkt. #197) should be GRANTED.

                                                  BACKGROUND

           This is a qui tam action. The principal controversy at hand is whether the United States

(the “Government”), having previously declined to intervene during the seal period, should now

be permitted to intervene and dismiss a portion of the claims Relators have pursued. The Court

begins with a brief recitation of the factual background before turning to the procedural history.

Then, the Court takes up the controversies before it.

     I.    Factual Background

           As the Court has noted previously, this case sits at the edge of the 2008 housing crisis in

the United States, which was partially precipitated by predatory lending practices and mortgage

fraud (See Dkt. #70).1 As home prices plunged, foreclosures increased, leaving homeowners in a

lurch with negative equity in their homes and no option to sell or refinance. To cure the chaos that

ensued, the Government enacted the Emergency Economic Stabilization Act of 2008 (“EESA”).



1
    The factual background of this case is more fully explained in the Court’s prior Memorandum Opinion and Order
    (Dkt. #70). The Court repeats it here for context, but notes that the underlying facts do not weigh on the issues at
    hand. Unless otherwise indicated, the facts contained in this Section are found in the Court’s prior Memorandum
    Opinion and Order (Dkt. #70).

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The Home Affordable Modification Program (“HAMP)—a voluntary program under EESA

administered by the Treasury Department—provided homeowners with affordable modifications

to mortgage loans in an effort to reduce avoidable foreclosures. Specifically, HAMP sought to

relieve homeowners from their economic burdens by lowering their mortgage payments to 31% or

less of their gross monthly income. Investors received payments, as well as a guarantee that no

mortgage modification would yield a mortgage value less than the net-present value of the

property. In consideration of this arrangement, mortgage servicers would not only receive their

annual servicing fees but would also receive HAMP incentive payments to complete HAMP

modifications. Upon each modification, the servicer would become entitled to $1,200–$2,000,

depending on the length of the mortgage’s delinquency.

       Ocwen were and/or are mortgage loan servicing agents for hundreds of trusts. The

remainder of Defendants served as trustees of those trusts. Ocwen enrolled in HAMP in 2009,

after which it promptly and expressly certified its compliance with HAMP guidelines and

applicable federal laws in its signing of the initial Servicer Participation Agreement (“SPA”). The

SPA named Ocwen as the servicer and Fannie Mae, solely as Financial Agent of the United States,

as the administration. The parties signed a Financial Instrument that same day, which included

representations, warranties, and covenants that Ocwen had to make to participate in HAMP. The

SPA fully incorporates the Financial Instrument. In 2010, Ocwen signed an Amended SPA.

       To receive HAMP payments, Ocwen made annual certifications. In the executed SPAs,

Ocwen expressly represented four things: (1) that it was in compliance with HAMP’s terms and

guidelines; (2) that it was in compliance with all applicable laws and requirements; (3) that it

created and maintained an effective HAMP program and committed the resources needed to



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employ sufficiently trained, experienced personnel with the resources necessary to provide quality

service to homeowners; and (4) that it had adequately documented and monitored its compliance

and immediately reported to the Government any credible evidence of material violations of these

certifications. Ocwen had a continuing obligation to expressly certify its continued compliance with

these terms and conditions on each annual certification.

 II.   Procedural Background

       On July 15, 2019, Relator Jean-Marc Eichner and Relator Brandon Loyd (collectively,

“Relators”) filed their Original Complaint under seal (Dkt. #1). It asserted causes of action for: (1)

presenting false or fraudulent claims to the Government; (2) making express and/or implied false

certifications to the Government; (3) making or using false records or statements material to false

or fraudulent claims; (4) fraudulent inducement; and (5) reverse false claims under 31 U.S.C.

§ 3729(a)(1)(A), (a)(1)(B), and (a)(1)(G) (Dkt. #1 at pp. 123–30). Relators allege that Ocwen

engaged in misconduct that violated Federal Housing Administration (“FHA”), the Dodd-Frank

Act, the Real Estate Settlement Procedures Act (“RESPA”), the Unfair, Deceptive, or Abusive

Acts or Practice Laws (“UDAAP” or “DAP”), the Truth in Lending Act (“TILA”), Regulation

Z, and Texas state law (See generally Dkt. #1). Relators’ Original Complaint also alleges that Ocwen

made false representation to the Government regarding their HAMP compliance, which induced




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the Government to enter SPA’s (See generally Dkt. #1). Finally, Relators claim that the Trust

Defendants2 are vicariously liable for Ocwen’s alleged bad acts (Dkt. #1 at p. 1).

           During the seal period (which was extended several times), the Government decided to

abstain from intervening in the case (Dkt. #16; Dkt. #17). Accordingly, on December 14, 2021, the

Court unsealed the matter (Dkt. #17).

           After seeking leave, Relators filed their first Amended Complaint (Dkt. #113; Dkt. #114).

As their Motion for Leave states, Relators’ Amended Complaint leaves “unchanged” the basis of

their Complaint (Dkt. #113 at p. 2). But Relators’ Amended Complaint deviates from their Original

Complaint in three ways: (1) it “conforms the allegations of the [C]omplaint to the discovery

[Relators] received . . . from the Trustee Defendants”; (2) it removes “The Bank of New York

Mellon Corporation f/k/a The Bank of New York Company, Inc. (“BNYMC”) as a defendant”;

and (3) it “removes allegations related to implementation of the Home Affordable Modification

Program by the Veteran’s Administration, known as ‘VA-HAMP,’ in an effort to streamline the

case” (Dkt. #113 at p. 1).

           After various discovery disputes ensued, on September 11, 2024, the Trust Defendants

filed their Motion for Partial Summary Judgment on Res Judicata Grounds for Claims Based on

Conduct through February 17, 2017 (Dkt. #161). After obtaining an extension of time to respond,




2
    The following defendants are referred to collectively as the “Trust Defendants”: Defendants U.S. Bank National
    Association solely in its capacity as Trustee on behalf of certain Residential Mortgage-Backed Securities Trust
    Defendants; Deutsche Bank National Trust Company, solely in its capacity as Trustee on behalf of certain
    Residential Mortgage-Backed Securities Trust Defendants; the Bank of New York Mellon Trust Company, N.A.
    f/k/a The Bank of New York Trust Company, National Association solely in its capacity as Trustee on behalf of
    certain Residential Mortgage-Backed Securities Trust Defendants; The Bank of New York Mellon f/k/a The Bank
    of New York solely in its capacity as Trustee on behalf of certain Residential Mortgage-Backed Securities Trust
    Defendants; and Wells Fargo Bank, N.A., solely in its capacity as Trustee on behalf of certain Residential Mortgage-
    Backed Securities.

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Relators filed a sealed Response in Opposition on November 1, 2024 (Dkt. #167; Dkt. #182). The

Trust Defendants then filed their Reply (Dkt. #184). Relators sought an extension of time to file a

sur-reply, which the Court granted (Dkt. #187; Dkt. #190). Relators filed their sealed Sur-Reply in

opposition to the Motion for Partial Summary Judgment on December 4, 2024 (Dkt. #195).

           The basis of the Motion for Partial Summary Judgment is tethered to another case involving

Ocwen, which the Court resolved by Final Judgment after settlement in May of 2017: United States

v. ex rel. Fisher v. Ocwen Loan Servicing, LLC, No. 4:12-cv-543 (E.D. Tex. May 19, 2017) (“Fisher”).

Fisher was a similar qui tam action against Ocwen based on alleged HAMP misconduct that

occurred between April 16, 2009, and February 17, 2017 (Fisher, Dkt. #593).3 The Court dismissed

those violations with prejudice after settlement (Fisher, Dkt. #593; Dkt. #163-2). Now, through

their Motion for Partial Summary Judgment, the Trust Defendants argue that, because this action

alleges that the Trust Defendants are vicariously liable under the False Claims Act (“FCA”) for

Ocwen’s conduct that partially occurred in the same time period as Fisher (the “Fisher Period”),

Relators’ Fisher Period claims are barred by res judicata (Dkt. #161 at p. 6).

           After the Trust Defendants filed their Motion for Partial Summary Judgment but before

Relators filed their Response, the Government filed the principal Motion before the Court—its

Motion to Intervene in Part and to Dismiss in Part Pursuant to 31 U.S.C. § 3730(c)(2)(A) (a

provision of the FCA) (Dkt. #163). Through it, the Government seeks to intervene in this action

as to the claims that derive from the Fisher Period and to dismiss those claims (Dkt. #163 at pp.

1–2). Unsurprisingly, both the Trust Defendants and Ocwen support the Government’s Motion




3
    For purposes of clarity, the Court refers to the 4:12-cv-543 action as “Fisher” and will refer to the Fisher docket as
    (Fisher, Dkt. # [ ]). The Court cites the docket in this action, 4:19-cv-524, as (Dkt. # [ ]).

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(Dkt. #179; Dkt. #180). Relators, on the other hand, oppose the Government’s Motion (Dkt. #181).

As explained infra, Relators dispute the propriety of the Government’s request to intervene and

dismiss wholesale on both substantive and procedural grounds. The Government filed its Reply

(Dkt. #196). Relators then filed their Sur-Reply (Dkt. #201). After seeking leave, the Trust

Defendants filed their Sur-Reply (Dkt. #197; Dkt. #198). The Court has yet to grant Trust

Defendants leave. Relators responded, opposing the Trust Defendants’ request to file a Sur-Reply

(Dkt. #202). The Trust Defendants filed their Reply to Relator’s opposition to the Trust

Defendants’ request for leave (Dkt. #203), and Relators filed a Sur-Reply (Dkt. #204). On April

22, 2025, the Government filed a Notice of Supplemental authority to notify the Court of a recent

Fifth Circuit case that directly answers particular procedural questions associated with dismissal

of qui tam claims (Dkt. #224). Relators did not respond.

       On October 7, 2024, the Court held a telephonic conference. During that call and after

entertaining some argument regarding the Government’s Motion, the Court directed the Trust

Defendants to file a written motion for stay if they so desired. They did. On October 11, 2024, the

Trust Defendants filed a Motion for Partial Stay Pending Resolution of the Government’s Motion

(Dkt. #171). Through it, the Trust Defendants seek a stay of all discovery and proceedings related

to the Fisher Period pending resolution of the Government’s Motion (Dkt. #171 at p. 2). Relators

then filed an Unopposed Motion for Extension of Time to Respond to the Trust Defendants’

Motion for Partial Stay (Dkt. #173), which the Court granted (Dkt. #174). The Government then

filed a Response in support of a partial stay (Dkt. #175). Relators then filed their Response in

opposition (Dkt. #176). The Trust Defendants replied (Dkt. #177), and the Relators filed their Sur-

Reply (Dkt. #178).



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       Separately, on November 1, 2024, Relators filed a Rule 56(d) Motion to Defer the Court’s

Ruling on the Trust Defendants Motion for Partial Summary Judgment on Res Judicata Grounds

for Claims Based on Conduct through February 17, 2017 (Dkt. #183). The Trust Defendants

responded in opposition (Dkt. #191), and Relators replied (Dkt. #192). The Trust Defendants then

filed their Sur-Reply (Dkt. #194).

       The Court treats the Government’s Motion to Intervene in Part and Dismiss in Part (Dkt.

#163) as the principal motion for purposes of this Order because it controls the disposition of the

remainder of those pending, except for the Trust Defendants’ Motion for Leave to file a Sur-Reply

to the Government’s Motion (Dkt. #197; Dkt. #198). Because any argument raised in the Trust

Defendants’ Sur-Reply may bear on the Court’s consideration of the Government’s Motion to

Intervene in Part and Dismiss in Part, the Court considers that Motion first (Dkt. #197; Dkt. #198).

Then, the Court will consider the Government’s Motion (Dkt. #163). As explained below, the

Government’s request for partial intervention and dismissal should be granted. After so

concluding, the Court briefly explains why the remaining Motions should be denied as moot.

                                     LEGAL STANDARD

       The Court begins with the legal standard applicable to the Government’s Motion (Dkt.

#163). Once more, this is a qui tam action arising under the False Claims Act (“FCA”), 31 U.S.C.

§§ 3729–3733. The FCA “imposes civil liability on any person who presents false or fraudulent

claims for payment to the Federal Government.” United States ex rel. Polansky v. Exec. Health Res.,

Inc., 599 U.S. 419, 423 (2023). The FCA permits “a unique public-private [enforcement] scheme.”

Id. at 425. Under the FCA, one of two parties may file suit: the Government, or a private party,

known as a “relator.” See 31 U.S.C. § 3730. When a private party sues under the FCA, that action



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is called a qui tam action. Polansky, 599 U.S. at 424. Qui tam actions are “‘brought in the name of

the Government.’” Id. (quoting 31 U.S.C. § 3730(b)(1)). That a relator—rather than the

Government—initiates suit does not change the core injury upon which the action is predicated;

the injury “asserted is exclusively to the Government.” Id.

       Upon a relator’s filing of an FCA claim, it “remains under seal for at least sixty days.” 31

U.S.C. § 3730(b) (cleaned up). This is sometimes referred to as the “seal period.” See, e.g.,

Polansky, 599 U.S. at 425. During the seal period, which may be extended for “good cause,” the

Government obtains the relator’s complaint, as well as any supporting “material evidence.” 31

U.S.C. §§ 3730(b)(2), (3). The Government then determines whether it wishes to “intervene and

proceed with the action.” Id. Should the Government elect to pursue its statutory right of

intervention, “the relator loses control: the action then ‘shall be conducted by the Government,’

though the relator can continue as a party in a secondary role.” Polansky, 599 U.S. at 425 (quoting

31 U.S.C. §§ 3730(b)(4)(A), (c)(1)). If the Government opts to abstain from intervention, however,

the relator maintains the “‘right to conduct the action.’” Id. (citing 31 U.S.C. § 3730(b)(4)(B)).

       But the Government’s decision with respect to intervention during the seal period does not

bind its hands forever. “The Government, after all, is a ‘real party in interest’ in the qui tam

action.” Id. (citing United States ex rel. Eisenstein v. City of New York, 556 U.S. 928, 930 (2009)).

Accordingly, the FCA permits the Government to intervene “after the seal period ends, so long as

it shows good cause to do so.” Id. (citing 31 U.S.C. § 3730(c)(3)).

       The question in such cases is whether the Government has satisfied its burden to show

“good cause.” See 31 U.S.C. § 3730(c)(3). Most recently, the Supreme Court “shed significant

light on the interplay between the Government’s right to intervene after the seal period ends and



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the Government’s right to dismiss the case notwithstanding the relator’s objections” in Polansky.

United States ex rel. Jackson v. Ventavia Research Group, LLC, 744 F. Supp. 3d 676, 685 (E.D. Tex.

2024) (citing Polansky, 599 U.S. at 423–39). As a court in this District has recognized, although

Polansky “did not evaluate the good cause standard, it affirmed the Third Circuit’s underlying

ruling ‘across the board’ and ‘in all respects.’” Id. (quoting Polansky, 599 U.S. at 429, 439). “And

while the Government’s satisfaction of the good cause standard was not challenged by the relator

in Polansky, and, as a result, not addressed in depth by the Supreme Court, the Supreme Court

repeated the Third Circuit’s explanation of the good cause standard in a neutral—if not positive—

manner.” Id. (citing Polansky, 599 U.S. at 429, n.2). “Specifically, the Supreme Court recited the

Third Circuit’s explanation that ‘showing good cause is neither a burdensome nor unfamiliar

obligation,’ but rather ‘a uniquely flexible and capacious concept, meaning simply a legally

sufficient reason.’” Id. (quoting Polansky, 599 U.S. at 429, n.2). Thus, parallel to Judge Truncale’s

decision in Jackson, the Court adopts Polansky’s recitation of the Third Circuit’s conception of the

good cause standard as controlling. Jackson, 744 F. Supp. 3d at 686.

                                           ANALYSIS

       Before the Court resolves the principal Motion, it must first ventilate the arguments raised

by the parties. But to fully perform that prefatory matter, the Court must first address The Trust

Defendants’ Motion for Leave to File Sur-Reply in Support of the Government’s Motion (Dkt.

#197). Accordingly, the Court’s analysis proceeds in three parts. First, the Court addresses the

Trust Defendants’ Motion for Leave (Dkt. #197). Second (and with all relevant materials before

it) the Court considers the Government’s Motion (Dkt. #163). Third and finally, the Court

resolves the remaining pending motions that turn on the resolution of the Government’s Motion.



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I.     The Trust Defendants’ Motion for Leave

       The Trust Defendants seek leave of court to file a sur-reply in support of the Government’s

Motion to Intervene (Dkt. #197). Relators oppose (Dkt. #202). According to Relators, the Trust

Defendants’ request for leave is “a disguised request for leave to file an untimely reply brief

without good cause” which was unaccompanied by fidelity to the Court’s meet-and-confer

requirements (Dkt. #202 at p. 1). See Local Rule CV-7(h)–(i). Relators also claim that the Trust

Defendants have no right to file a sur-reply because “they seek to directly address the arguments

raised in Relators’ Opposition [to the Government’s Motion] to the extent not already addressed

in the Government’s Reply” (Dkt. #202 at p. 1) (internal citation omitted).

       The Trust Defendants replied to Relators’ opposition, arguing that, given the unique

procedural posture of this case, good cause exists to allow their Sur-Reply and that they acted in

good faith (Dkt. #203 at p. 1). The Trust Defendants point out that they filed their Motion for

Leave “more than ten days before Relators’ sur-reply deadline” (Dkt. #203 at p. 3). Further, they

claim that they did attempt to confer with Relators prior to filing their Motion, but that those efforts

did not yield any fruit, seemingly because the Relator’s opposition was already clear prior to their

attempt to seek leave (Dkt. #203 at p. 3).

       In their Sur-Reply, Relators stand firm. They argue that the Trust Defendants do not

dispute the notion that their proposed Sur-Reply “is actually an unauthorized reply since it

responds to the arguments made in Relators’ [R]esponse in opposition to the Government’s

Motion” (Dkt. #204 at p. 1). Further, Relators argue that, because the “Local Rules do not permit

the filing of replies by non-movants or sur-replies by parties that are supporting (rather than

responding to) a pending Motion[,]” the Court should deny the Trust Defendants’ request for

leave (Dkt. #204 at p. 1). Finally, they maintain that the Trust Defendants’ request is untimely and
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that the Trust Defendants’ “wholly failed to comply with the Court’s meet-and-confer

requirements” (Dkt. #204 at p. 1).

       The Court notes that Relator’s fervent, lengthy opposition to the Trust Defendants’

request for leave is jarring, but not new. Over the course of this litigation, in the matter now before

the Court and others the Court has yet to address, the parties have accused each other of

misconduct in all forms. Rules matter. But the issues are the issues, and the arguments are the

arguments. The Court’s fundamental focus at this juncture is to ensure that all parties have a fair

forum to articulate their positions so that the Court may achieve the right result in this matter.

This ancillary bickering only detracts from the weighty questions before the Court today. The

Court retains inherent discretion over its docket and the application of its Local Rules. Edwards v.

Cass Cty., Tex., 919 F.2d 273, 275 (5th Cir. 1990) (“The district court has broad discretion in

controlling its own docket”). The Court exercises that discretion to grant the Trust Defendants

the leave that they seek. Accordingly, the Trust Defendants’ Sur-Reply to the Government’s

Motion (Dkt. #198) is deemed filed.

II.    The Government’s Motion to Intervene in Part and Dismiss in Part

       Having resolved the threshold dispute with respect to the pleadings before the Court which

contemplate the Government’s Motion (Dkt. #163), the Court turns now to that dispute. The

Court’s consideration of the Government’s Motion proceeds in two steps. First, the Court

considers whether the Government may intervene in the action. Infra, II.A. Second—and only if

the Court concludes that the Government may intervene—the Court analyzes whether the

Government may dismiss the Fisher Period claims. Infra, II.B. Though distinct, those questions are

intertwined to some extent. As set forth below, the answer to both questions is “yes.”



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       A.      Intervention

       Because intervention is a prerequisite to dismissal, the Court begins with the question of

whether the Government may intervene. See Polansky, 599 U.S. at 430–31. The Government

invokes Polansky as the proper standard by which to measure the Government’s request to

intervene (Dkt. #163 at p. 7). As articulated supra, the Court agrees. There is no reason to question

the applicability of the Supreme Court’s clear decisions in Polansky. Under that standard and in its

effort to show “good cause” for intervention as required by the FCA, see 31 U.S.C.

§ 3730(c)(2)(A), the Government offers that it seeks a partial dismissal of Relator’s Amended

Complaint (Dkt. #163 at p. 8). Parallel to Polansky, the Government asserts that its request to

dismiss part of the suit “‘itself establishes good cause to intervene’” (Dkt. #163 at p. 8) (quoting

Polansky, 599 U.S. at 429 n.2). Ocwen supports the Government’s efforts (Dkt. #180). So do the

Trust Defendants (Dkt. #179; Dkt. #198). Relators oppose (Dkt. #181).

       Relators contend that the Government lacks good cause to intervene for both procedural

and substantive reasons (Dkt. #181 at p. 6). Their argument comes in four parts. First, Relators

argue that the standard by which the Court should determine whether the Government has good

cause to intervene is far more stringent than that which the Supreme Court articulated in Polansky

(See Dkt. #181 at pp. 6–8). Relying upon legislative history, Relators claim that the FCA’s

threshold good cause requirement for post-seal-period intervention “was added to the FCA to

‘provide the Government with the option of intervening in situations where new and significant

evidence is found which escalates the magnitude or complexity of the fraud after it initially declines

to intervene’” (Dkt. #181 at p. 6) (quoting United States ex rel. Hall v. Schwartzman, 887 F. Supp.

60, 62 (E.D.N.Y. 1995)). Further, Relators argue that “‘the good cause requirement . . . was

intended to protect the interests of the relator’” (Dkt. #181 at p. 6) (quoting United States ex rel.
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Stone v. Rockwell Int’l Corp., 950 F. Supp. 1046, 1049 (D. Colo. 1996)) (cleaned up). Because there

is no “new and significant evidence” which has “escalated[d] the magnitude or complexity” of

this case, and because intervention would be prejudicial to Relators’ interests, the Government

ought not be permitted to intervene, so the argument goes (See Dkt. #181 at pp. 6–7).

       Building on these notions, Relators analogize the FCA’s good cause standard to that of

Federal Rule of Civil Procedure 24(b) (See Dkt. #181 at pp. 6–8). As Relators point out, Rule 24

allows a court to permit an intervenor “on timely motion” where the intervenor either: (1) holds a

“conditional right to intervene” under federal statute; or (2) “has a claim or defense that shares”

“a common question of law or fact” with the “main action.” FED. R. CIV. P. 24(b). Relators

contend that, in determining whether the Government should be able to intervene, the Court

should consider various factors that weigh in a Rule 24(b) inquiry (Dkt. #181 at p. 7). Those factors

include the following:

       1. how long the putative intervenor knew, or reasonably should have known, of its
          stake in the action;

       2. the prejudice, if any, the existing parties may suffer because the putative
          intervenor failed to intervene when it knew, or reasonably should have known,
          of its stake;

       3. the prejudice, if any, the putative intervenor may suffer if intervention is not
          allowed; and

       4. any unusual circumstances weighing in favor or, or against, finding timeliness.

(Dkt. #181 at p. 7) (quoting Effjohn Int’l Cruise Holdings, Inc. v. A&L Sales, Inc., 346 F.3d 553,

560–61 (5th Cir. 2003)). Though Relators acknowledge that “courts are divided on whether Rule

24 strictly applies to request for intervention under § 3730(c)(3), they have found it appropriate to

consider the guidance of cases decided under Rule 24 in analyzing whether such intervention is

appropriate” (Dkt. #181 at p. 7) (citing United States ex rel. Drennen v. Fresenius Med. Care

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Holdings, Inc., No. 09-10179, 2018 WL 1557253, at *2 (D. Mass. Mar. 30, 2018); Hall, 887 F. Supp.

at 62). Relators claim that the Court should use Rule 24’s factors here because “‘the Federal Rules

are the default rules in civil litigation’” and “there is no reason to deviate from Rule 24” (Dkt.

#181 at p. 8) (quoting Polansky, 599 U.S. at 436).

       Following their presentation of what they believe to be the proper standard for

intervention, the second, third, and fourth phases of Relators’ arguments apply the Rule 24 factors.

See Effjohn, 346 F.3d at 560–61. Specifically, in their second argument against intervention,

Relators argue that “the Government knew, or reasonably should have known, of its basis for

seeking intervention no later than July 2019” (Dkt. #181 at p. 8). In support, Relators note that the

Government did not seek to intervene during the seal period, which terminated in 2019 (Dkt. #181

at p. 9). Instead, according to Relators, the Government investigated the case for two and a half

years (Dkt. #181 at p. 9). To Relators, that the Government just now seeks to intervene—after

almost five years—is “inexcusable” (Dkt. #181 at p. 9) (internal citation omitted).

       Next, Relators argue that “the Government’s inexcusable delay has prejudiced Relators”

(Dkt. #181 at p. 10). Namely, Relators claim that they have dedicated too much time and effort—

and have expended too many resources—in the wake of the Government’s original abstention from

intervention for an intervention now to leave them unscathed. Relators’ argument on this point

harkens back to the Court’s prior Memorandum Opinion and Order (Dkt. #70), which “left for a

later date” the question of “whether some or all of Relators’ claims are barred by res judicata, the

public disclosure bar, the government action bar, or the relevant statute of limitations” (Dkt. #70

at p. 10). In the Court’s view at the time of that Order, the resolution of those arguments would

have been well-served by further discovery and factual development (Dkt. #70 at p. 10). Now,



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Relators argue the expenses they incurred to conduct that discovery and develop those facts would

be for naught should the Court grant the Government’s Motion (Dkt. #181 at pp. 10–11). Put

simply, intervention would leave Relators in the red, with no chance of “recovering the maximum

amount of damages for both the Government, and, in turn, Relators” (Dkt. #181 at p. 11).

       Conversely, Relators argue that “minimal” prejudice would befall the Government if the

Court denied its request to intervene (Dkt. #181 at p. 11). Relators claim that the Government’s

assessment that “it has faced ‘unusually high’ burdens with respect to Relators’ claims based on

Ocwen’s conduct” through the Fisher Period is unsubstantiated by any evidence (Dkt. #181 at

p. 11) (quoting Dkt. #163 at pp. 13–14). Relators claim that the Government “did not meaningfully

participate in this lawsuit” in any way (Dkt. #181 at p. 11). Further, to Relators, “because the

Government’s Motion seeks only a partial dismissal of Relators’ claims, the Government will

continue to monitor this case regardless of whether the Court grants the Government’s Motion”

(Dkt. #181 at p. 12) (cleaned up).

       Finally, Relators argue that “additional considerations weigh against intervention” (Dkt.

#181 at p. 13) (cleaned up). To Relators, the chief additional consideration is the public interest

(Dkt. #181 at p. 13). Relators claim that the Trust Defendants are vicariously liable for Ocwen’s

conduct during the Fisher Period and after (Dkt. #181 at pp. 13–14). But they were not involved in

the previous Fisher litigation. Relators argue that, should the Court permit intervention (and

dismissal), “the public will have no opportunity to recoup the ill-gotten incentives paid to the Trust

Defendants” during the Fisher Period (Dkt. #181 at p. 14).

       In its Reply, the Government counters by arguing that “nothing in Relators’ Opposition

establishes the ‘extraordinary circumstances’ needed to overcome the Government’s entitlement



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to dismiss claims brought in its name” (Dkt. #196 at p. 1) (quoting Polansky, 599 U.S. at 438). The

Government asserts that, post-Polansky, “courts have, without exception, found that the

Government’s request to dismiss the suit itself establishes good cause to intervene” (Dkt. #196 at

p. 3) (citations omitted). The Government also argues that Relator’s Response does not dispute

the basis the Government asserts for seeking to intervene and dismiss (Dkt. #196 at p. 3). Instead,

the Government claims that Relators make “irrelevant arguments” regarding Rule 24, which does

not apply to the instant dispute (Dkt. #196 at pp. 3–4). Further, the Government counters Relators’

assertion that the Government’s long delay in seeking intervention counsels against granting its

Motion (Dkt. #196 at p. 4). Specifically, the Government argues that Polansky expressly allows the

Government to change its mind as to whether it will intervene—even years after a qui tam action

has been filed (Dkt. #196 at p. 4). Finally, the Government contends that Relators’ assertions that

the Government has done “nothing” in this lawsuit and has unreasonably delayed are simply

“wrong” (Dkt. #196 at p. 4). In support, the Government lists its participatory efforts, which

include monitoring and reviewing the pleadings and various Touhy requests4 (Dkt. #196 at p. 4).

The Government avers that it has conferred with the parties “extensively” and has continuously

monitored the legal developments that might impact this case (Dkt. #196 at p. 4).

           The Court begins its analysis with the controlling precedent: Polansky. Once more, the

Government may intervene in a qui tam action after the seal period upon a showing of good cause.

31 U.S.C. § 3730(c)(2)(A). Under Polansky, “showing ‘good cause’ is neither a burdensome nor

unfamiliar obligation.” Polansky, 599 U.S. at 429 n.2 (quoting Polansky v. Exec. Health Res. Inc., 17




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    A Touhy request is a reference to the Supreme Court case that articulated the process by which one seeks information
    from a federal agency. See United States ex rel. Touhy v. Ragen, 340 U.S. 462 (1951).

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F.4th 376, 387 (3d Cir. 2021)). Instead, it is “uniquely flexible and capacious concept, meaning

simply a legally sufficient reason.” Id. (quoting Polansky, 17 F.4th at 387). Relators’ arguments

against intervention and in favor of some higher standard are misguided and find no basis in law.

In fact, Relators’ arguments seem to treat as an afterthought—if not wholly ignore—Polansky’s

critical language and this Judicial District’s recent case, Jackson, where Judge Truncale rejected

arguments almost identical to those Relators make here.

       For starters, Relators argue that Rule 24 applies and somehow modifies the FCA’s good

cause standard. Not so. As was the case in Jackson where the district court faced a similar

argument, here, the Court “is not convinced that Rule 24 intervention is analogous to 31 U.S.C.

§ 3730 intervention.” See Jackson, 744 F. Supp. at 686. “Rule 24 intervention pertains to non-

parties intervening in a lawsuit.” Id. But § 3730 intervention “pertains to the Government, on

whose behalf the relator brings the action, intervening to prosecute the action itself.” Id. Critically,

the injury a relator asserts in a qui tam lawsuit belongs “‘exclusively’ to the Government” and

“the purpose of the action is to ‘vindicate the Government’s interests.’” Id. (quoting Polansky,

599 U.S. at 425, 427) (emphasis in original). The FCA makes clear that “the relator’s right to

conduct the action is always subject to the Government’s rights, including the right to intervene

down the road.” Id. (citing Polansky, 599 U.S. at 438).

       The cases Relators cite in support of Rule 24’s application do not change the Court’s view.

Relators claim that courts “have found it appropriate to consider the cases decided under Rule 24

in analyzing whether [§ 3730(c)(3)] . . . intervention is appropriate,” though “courts are divided

on whether Rule 24 strictly applies to requests for” such intervention (Dkt. #181 at p. 7). In

support, Relators cite Jackson (which rejected the application of Rule 24 in analyzing a § 3730



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dismissal), as well as other pre-Polansky cases that used Rule 24 in analyzing such motions to

dismiss (Dkt. #181 at p. 7) (citing Drennen, 2018 WL 1557253, at *2; Hall, 887 F. Supp. at 62, and

United States v. Aseracare, Inc., No. 2:12-CV-245-KOB, 2012 WL 4479123, at *2 (N.D. Ala. Sept.

24, 2012)). True enough, in Drennen, a district court considered Rule 24 in deciding a motion to

intervene under the FCA. See 2018 WL 1557253, at *2. The same is true in Hall. See 887 F. Supp.

at 62. Aseracare is different.

            In furtherance of their efforts to convince the Court that Rule 24 applies here, Relators

claim that in Aseracare, a district court “analyz[ed] a motion to intervene under § 3730(c)(3) under

the Rule 24(b) standard” (Dkt. #181 at p. 7 n.4). True enough, the Court did apply the Rule

24(b)(1)(A) insofar as it permits conditional intervention under a federal statute and ultimately

applied the Rule 24 factors. Aseracare, 2012 WL 4479123, at *2. But Relators overlook that the

district court’s application of those factors carries no weight because the court assumed their

applicability. Id. There, relators moved the district court to reconsider its prior order granting the

Government’s motion to intervene under § 3730(c)(3). Id. at *1. The defendants argued that

“under United States v. Jefferson County, the court should not allow the Government to intervene

because the motion to intervene was not timely filed.” Id. at *2.5 The district court rejected that

argument, stating that it was “unaware of any court that has analyzed the Government’s motion

to intervene in a [FCA] qui tam action under Jefferson’s factors for permissive intervention.” Id. It

went on to agree with the Government that “the very nature of government intervention in FCA

cases creates circumstances and considerations not present in ordinary cases involving a non-




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    Under Jefferson, four factors weigh in deciding whether to allow intervention. 720 F.2d 1511, 1516 (11th Cir. 1983).
    Those factors are the equivalent to those the Fifth Circuit articulated in Effjohn. See 346 F.3d at 560–61.

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party’s efforts to intervene under Rule 24.” Id. (internal citation omitted). But the court stated

that, “even assuming the Jefferson framework does apply” to § 3730(c)(3) intervention, the

Government was entitled to intervene. Id. (emphasis added). Relators ask the Court to read out

that assumption and treat the district court’s subsequent analysis operating under that assumption

as somehow binding on the Court in this case. The Court will not do so. In the Eastern District,

and seemingly under Polansky, Rule 24 does not apply in determining whether Government

intervention is appropriate in this context.

       Relators’ misreading of that case aside, the Court is persuaded by the reasoning in Jackson.

In Jackson, when faced with the same argument—and the exact same cases cited in support—the

district court observed that, “[u]nlike Polansky . . . none of these cases are binding on this Court.

These cases also predate Polansky, which did not mention Rule 24(b)(3) and therefore substantially

undermines their persuasiveness.” Jackson, 744 F. Supp. 3d at 686. This Court agrees. As was the

case in Jackson, so too here, “[g]iven that Rule 24 does not fit these circumstances, that the cases

cited by . . . Relator[s] are non-binding, and that the Supreme Court seemingly endorsed the Third

Circuit’s good cause standard, the Court will apply the good cause standard as outlined in

Polansky.” See id. at 687. Accordingly, the Government need only offer a “legally sufficient”

reason to intervene. Polansky, 599 U.S. at 429 n.2.

       Here, the Government submits as good cause that “it seeks to dismiss in part Relators’

Amended Complaint” (Dkt. #163 at p. 8). In the Government’s view, it need submit no more

because, “as the Third Circuit concluded in Polansky, the Government’s request to dismiss the

suit ‘itself establishes good cause to intervene’” (Dkt. #163 at p. 8) (quoting Polansky, 599 U.S. at

429 n.2). The Government seeks to dismiss claims from the Fisher Period for several reasons,



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including the low probability of those claims’ success, the burden concomitant with their continued

pursuit, and the Government’s interest (See Dkt. #163 at pp. 11–14). That will do.

       Turning once more to Jackson, as a court in this District has observed, district courts,

“particularly in the wake of Polansky, have consistently permitted the Government to intervene

after the seal period when the Government wants to dismiss a case because it disputes the case’s

merits, wants to avoid discovery and litigation costs, or finds that the case conflicts with its

policies.” Jackson, 744 F. Supp. 3d at 686–87 (citing Polansky, 599 U.S. at 428 n.2; Brutus Trading,

LLC v. Standard Charter Bank, No. 20-2578, 2023 WL 5344973, at *1–2 (2d Cir. Aug. 21, 2023);

United States ex rel. Carver v. Physicians Pain Specialists of Ala., P.C., No. 22-13608, 2023 WL

4853328, at *4, 6–7 (11th Cir. July 31, 2023); United States ex rel. CIMZNHCA, LLC v. UCB, Inc.,

970 F.3d 835, 853–54 (7th Cir. 2020); United States ex rel. Sequoia Orange Co. v. Baird-Neece Packing

Corp., 151 F.3d 1139, 1142–43, 1146 (9th Cir. 1998); United States ex rel. Vanderlan v. Jackson HMA,

LLC, No. 3:15-CV-767, at *6 (S.D. Miss. Apr. 12, 2024); United States ex rel. Toomer v. TerraPower,

LLC, No. 4:16-cv-00226, 2018 WL 4934070, at *4–5 (D. Idaho Oct. 10, 2018)). The Court sees no

need to deviate from that demonstrated, well-reasoned track record.

       Because “the Government’s interest is the predominant one,” and because the

Government’s desire to dismiss claims constitutes good cause to intervene, the Court sees no

reason to bar the Government from intervening here. See Jackson, 744 F. Supp. at 687; Polansky,

599 U.S. at 428 n.2. Relators’ opposition accuses the Government of “inexcusable delay” in

seeking intervention, which Relators claim causes them prejudice (Dkt. #181 at pp. 10–13). But

Relators cite no authority for the notion that the Government’s Motion to intervene under 31

U.S.C. § 3730(c)(3) is subject to a prejudice analysis. In their effort to do so, Relators attempt to



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import Rule 24(b) and inapposite authority (See Dkt. #181 at pp. 6–8). Their efforts are not

persuasive. And even if Rule 24(b) did apply, the Court believes that the Government’s

“predominant” interests outweigh any prejudice to Relators. See Jackson, 744 F. Supp. at 687.

        Relators’ opposition to the Government’s Motion also contests the notion that the

Government may dismiss only part of a qui tam action, as opposed to the entire action (See Dkt.

#181 at pp. 14–15). As explained infra, that argument is misguided, but highlights another intricacy

worthy of the Court’s attention. That is, the Government only seeks to intervene in part (Dkt. #163

at p. 1). The FCA does not expressly contemplate partial intervention. See 31 U.S.C. § 3730(c)(3).

No less, the Government asserts that this District has “repeatedly found” that the Government

may only intervene in part (Dkt. #196 at pp. 2–3). Relators do not appear to mount any argument

against partial intervention. Instead, the thrust of their argument is that the Government may not

dismiss a qui tam action in part (in addition to arguing that intervention is inappropriate as a general

matter) (See Dkt. #183). Rest assured, partial intervention is permissible. As the Government

points out, it has partially intervened in qui tam actions before (Dkt. #196 at p. 3, n.5). See also

United States ex rel. Wright v. AGIP Petroleum Co., No. 5:03-CV-264-DF, 2005 WL 8167952, at *1

(E.D. Tex. Feb. 3, 2005). That makes sense. After all, the purpose of a qui tam action is to

“vindicate the Government’s interests.” Polansky, 599 U.S. at 438. Because Relators mount no

argument against partial intervention, and because partial intervention appears to harmonize with

Polansky and the FCA, the Court perceives no issue with it here. See also United States ex rel. Merena

v. SmithKline Beecham Corp., 205 F.3d 97, 101–02 (3d Cir. 2000) (“[T]he [G]overnment often

decides to take over only certain claims in a multi-claim action, and we are aware of no decision

holding that this is improper.”).



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       B.      Partial Dismissal

       Having determined that the Government may intervene in part, the Court turns next to the

question of whether it may dismiss the Fisher Period claims. It can. Under the FCA, once the

Government becomes a party through intervention, “[t]he Government may dismiss [a qui tam]

action notwithstanding the objections of the [relator] if the [relator] has been notified by the

Government of the filing of the motion and the court has provided the [relator] with an opportunity

for a hearing on the motion.” 31 U.S.C. § 3730(c)(2)(A). In Polansky, the Supreme Court held that

courts should apply Federal Rule of Civil Procedure 41 in deciding a Government’s Motion to

dismiss a qui tam action. 599 U.S. at 437. In so doing, the Supreme Court stated that “the

Government’s views are entitled to substantial deference” and warned that “a district court

should think several times over before denying a motion to dismiss” Id. at 437–38. As one court in

this District has already recognized, Polansky instructs that “‘if the Government offers a

reasonable argument for why the burdens of continued litigation outweigh its benefits, the court

should grant the motion’” even where “‘the relator presents a credible assessment to the

contrary.’” Jackson, 744 F. Supp. 3d at 690 (quoting Polansky, 599 U.S. at 438).

       As the Supreme Court recognized in Polansky, the Rule 41 standard that the Court must

apply depends on the case’s procedural posture. 599 U.S. at 435. “If the defendant has not yet

served an answer or summary-judgment motion, the plaintiff need only file a notice of dismissal.”

Id. “But once that threshold has been crossed . . . dismissal requires a ‘court order, on terms that

the court considers proper.’” Id. (quoting FED. R. CIV. P. 41(a)(2)). Here, Rule 41(a)(2) applies

because the Government seeks dismissal post-answer and post-motion for summary judgment.

       “In non-FCA cases, Rule 41(a)(2)’s ‘proper terms’ analysis focuses on the defendant’s

interests: The court mainly addresses whether the party’s ‘commitment of time and money’
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militates against dismissal.” Id. at 437 (quoting Cooter & Gell v. Hartmarx Corp., 496 U.S. 384, 397

(1990)). But under the FCA, Rule 41(a)(2)’s “‘proper terms’ assessment is more likely to involve

the relator.” Id. Generally, relators want to continue pressing their suit and, at the § 3730(c)(2)(A)

stage, they have likely expended significant resources in litigation. See id. Accordingly, “[p]art of

the district court’s task is to consider their interests.” Id. That consideration is cabined, however,

by the Supreme Court’s observation that § 3730(c)(2)(A) motions to dismiss “will satisfy Rule 41

in all but the most exceptional cases.” Id.

                1.      Relators are not Entitled to an Evidentiary Hearing.

        This brings the Court to the first dismissal-related dispute, which is a threshold one:

whether a hearing is necessary. The Court must apply Rule 41 “subject to” the FCA’s procedural

requirements of notice and an opportunity for a hearing. Jackson, 744 F. Supp. 3d at 690 (citing

Polansky, 599 U.S. at 435–36); 31 U.S.C. § 3730(c)(2)(A). Relators do not dispute that the

Government complied with its obligation to give them notice of their intention to seek partial

dismissal (See Dkt. #181). Instead, Relators argue that § 3730(c)(2)(A) “requires the Court to

provide Relators” an oral or evidentiary hearing (Dkt. #181 at p. 15). According to Relators,

“nothing in Polansky suggests that the Court may forego the hearing requirement or that briefing

is an adequate substitute” (Dkt. #181 at p. 15). In fact, Relators go further and suggest that Polansky

“suggests a hearing must take place” (Dkt. #181 at p. 15) (citing Polansky, 599 U.S. at 437 n.4).

        Relators are wrong. The footnote to which Relators refer in no way suggests that an

evidentiary or oral hearing are required under the FCA. Relators do not point to any particular text

in the footnote to substantiate their position to the contrary. As far as the Court can tell, such text

does not exist. The full text of the footnote is as follows:



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       The Court of Appeals briefly addressed the purpose of a hearing when dismissal is
       sought before an answer is filed. See 17 F.4th 376, 390, n.16 (CA3 2021). In that
       context, Rule 41 entitles the movant to a dismissal; the district court has no
       adjudicatory role. So what is the court supposed to do at the hearing the FCA
       requires? The Third Circuit suggested that Rule 41’s standards “rest atop the
       foundation of bedrock constitutional constraints on Government action.” Id., at
       390, n.16. So a hearing, whether pre- or post-answer, might inquire into allegations
       that a dismissal “violates the relator’s rights to due process or equal protection.”
       Ibid. But because Polansky has not raised a claim of that sort, we do not consider
       the circumstances in which, or procedures by which, a court should find the
       Constitution to prevent the Government from dismissing a qui tam action.

Polansky, 599 U.S. at 437 n.4. First, nothing in the footnote even remotely implies a statutory

entitlement to an oral or evidentiary hearing. See id. Second, the Supreme Court quoted with

approval the Third Circuit’s belief that the hearing “might inquire into allegations that a dismissal

violates the relator’s rights to due process or equal protection.” Id. (internal citation omitted). As

was the case in Polansky, Relators have not raised such a claim here. (Compare id., with Dkt. #181).

As the Government points out, this case is bereft of constitutional concerns (See Dkt. #163 at p. 15).

Thus, Relators’ arguments based on this footnote are unpersuasive.

       In any event, the Fifth Circuit has recently laid the axe at the feet of Relators’ argument.

Indeed, just days ago, the Fifth Circuit held that § 3730(c)(2)(A) “only requires a hearing on the

briefs.” Vanderlan v. United States, No. 24-60215, 2025 WL 1143390, at *4 (5th Cir. Apr. 18, 2025).

In arriving at that conclusion, the Fifth Circuit noted that “Courts of appeals, since Polansky, have

routinely read subparagraph (c)(2)(A) in the same way: “hearing” only requires a hearing on the

briefs.” Id. (citing United States ex rel. Doe v. Credit Suisse AG, 117 F.4th 155, 162 (4th Cir. 2024);

Brutus Trading, LLC v. Standard Chartered Bank, No. 20-2578, 2023 WL 5344973, at *2–3 (2d Cir.

Aug. 21, 2023) (unpublished)). Relators did not respond to the Government’s submission of

Vanderlan as supplemental authority (Dkt. #224), either. Accordingly, Relators are only entitled



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to a hearing on the briefs. No oral or evidentiary hearing is required under the FCA, and none will

be given. The Court would not benefit from further argument anyway.

                2.      The Government is Entitled to Dismiss on a Claim-by-Claim Basis.

        Having resolved that procedural dispute, the Court turns to yet another that Relators raise:

whether the Government may seek partial dismissal of the action. Relators say it cannot.

Unsurprisingly, the Government disagrees. Again, Relators are mistaken, though their confusion

is understandable.

        Relators argue that the Government’s Motion is “procedurally flawed because it

impermissibly seeks dismissal for Relators’ claims rather than the entire ‘action’ in violation of

clear Fifth Circuit precedent” (Dkt. #181 at p. 1). According to Relators, because both Rule 41 and

§ 3730(c)(2)(A) permit dismissal of “an action,” piecemeal dismissal is prohibited (Dkt. #181 at

p. 4). Relators cite a few Fifth Circuit cases in support of their reading (Dkt. #181 at p. 5) (citing

CBX Res., L.L.C. v. ACE Am. Ins. Co., 959 F.3d 175, 177 (5th Cir. 2020); Bailey v. Shell W. E&P,

Inc., 609 F.3d 710, 720 (5th Cir. 2020); Exxon Corp. v. Md. Cas. Co., 599 F.2d 659, 662 (5th Cir.

1979)). Relators insist that Bailey controls (Dkt. #181 at p. 5).

        Conversely, the Government contends that it is “entitled to dismiss on a claim-by-claim

basis” (Dkt. #196 at p. 2) (cleaned up). According to the Government, courts have “long held”

that “the term ‘action’ wherever it appears in the FCA, including in § 3730(c)(2)(A), refers to a

single violation of § 3729” (Dkt. #196 at p. 2) (citing Merena, 205 F.3d at 101–02) (cleaned up).

The Government also points out that this Court has previously concluded that, “‘consistent with

its accepted meaning within the FCA, ‘an action’ . . . can refer to a single claim in a multi-claim

complaint’” (Dkt. #196 at p. 2) (quoting Fisher, 413 F. Supp. 3d at 577). In line with that

understanding, the Government submits that “courts in this District have repeatedly found that
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the [Government] may properly dismiss . . . only a subset of the claims alleged in a qui tam suit”

(Dkt. #196 at p. 2, n.4) (collecting cases).

        Because Relators contend that Bailey is controlling, the Court begins there. Relators submit

that in Bailey, “the Fifth Circuit held that a co-relator . . . was not authorized to voluntarily dismiss

his individual claims under Rule 41(a) because it would not result in a dismissal of an entire action”

(Dkt. #181 at p. 5) (citing 609 F.3d at 720). Importing Bailey’s reasoning, Relators accuse the

Government of pursuing the same type of “improper partial dismissal” (Dkt. #181 at p. 5).

        Relators’ reliance on Bailey, however, seems misplaced. And their contention that Bailey

stands as a “clear Fifth Circuit precedent” that prevents the Government from partially dismissing

part of a qui tam lawsuit is yet another attempt to import irrelevant principles into the Court’s

inquiry. Relators’ summary of Bailey explains why. There, the party seeking dismissal was a co-

plaintiff relator—not the Government (See Dkt. #181 at p. 5). See Bailey, 609 F.3d at 719. The

provision of the FCA at issue there was 31 U.S.C. § 3730(b)—not § 3730(c)(2)(A). Id. As the Fifth

Circuit observed, that provision states that:

        A person may bring a civil action for a violation of section 3729 for the person and
        for the United States Government. The action shall be brought in the name of the
        Government. The action may be dismissed only if the court and the Attorney
        general give written consent to the dismissal and their reasons for consenting.

Bailey, 609 F.3d at 719 (quoting 31 U.S.C. § 3730(b)). The Fifth Circuit reasoned that the co-

plaintiff “could not dismiss his qui tam action without written consent of the court and the

Attorney General, which he did not obtain.” Id. But that co-plaintiff asked the Fifth Circuit “to

carve out an exception from the § 3730(b) consent requirement for plaintiffs who wish to withdraw

from multiple-plaintiff qui tam actions.” Id. The Fifth Circuit declined, noting that “[t]he consent




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requirement for dismissal of a qui tam action safeguards the government’s interests . . . .” Id.

Indeed, as the Fifth Circuit observed:

       “For more than 130 years, Congress has instructed courts to let the [G]overnment
       stand on the sidelines and veto a voluntary dismissal. It would take a serious conflict
       with the structure of the FCA or a profound gap in the reasonableness of the
       provision for us to be able to justify ignoring this language.”

Id. (quoting Searcy v. Philips Elecs. N. Am. Corp., 117 F.3d 154, 159–60 (5th Cir. 1997)).

       The co-plaintiff next argued that “the dismissal of one plaintiff from a multi-plaintiff case

will not result in dismissal of the entire action.” Id. at 720. The Fifth Circuit noted, however, that

“dismissal of one plaintiff may nonetheless impair the [G]overnment’s interests even where

another plaintiff remains in the suit to litigate on behalf of the [G]overnment.” Id. The Fifth Circuit

accordingly declined to “erode the statutory protection of the [G]overnment’s interest simply for

the sake of convenience.” Id.

       Critically, the Fifth Circuit noted that the co-plaintiff could not “have dismissed just his

individual claims” as he argued. Id. This is because “Rule 41(a) dismissal only applies to the

dismissal of an entire action—not particular claims.” Id. (citing Exxon, 599 F.2d at 662) (“When

Rule 41(a) refers to Dismissal of an ‘action’, there is no reason to suppose that the term is intended

to include the separate claims which make up an action. When Dismissal of a claim is intended, as

in Rule 41(b), that concept is spelled out in plain language.”)).

       Here, Relators’ arguments are based on this holding regarding Rule 41(a). According to

Relators, if a co-plaintiff cannot partially dismiss under Rule 41(a) as the Fifth Circuit held in

Bailey, then neither can the Government (Dkt. #181 at p. 5). The Government seeks to distinguish

Bailey as “inapposite” (Dkt. #196 at p. 2 n.4). According to the Government, Bailey cannot apply

to bar requests for partial dismissal because Rule 41(a), as applied in Bailey, “governs dismissal by


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a ‘plaintiff,’ whereas here the [Government], the real party in interest, albeit a non-party, seeks

dismissal under 31 U.S.C. § 3730(c)(2)(A)” (Dkt. #196 at p. 2 n.4). Accordingly, the Government

submits that Bailey should not apply here because “it involves a plaintiff-relator’s dismissal of the

relator’s own claims . . . and not a dismissal by the [Government]” (Dkt. #196 at p. 2 n.4).

       Whereas the Government contends that Relators cite no authority that the word “action”

as used in the FCA should be construed to bar dismissal of particular claims, the Government does

(See Dkt. #196 at p. 2, 2 n.4). The Government principally relies on United States v. ex rel Merena

v. SmithKline Beecham Corp. to ground its position that it may seek dismissal on a claim-by-claim

basis (Dkt. #196 at p. 2) (citing 205 F.3d at 101–02). As explained below, the Court agrees with the

Government. While Relators’ position with respect to Rule 41(a) may bar a co-plaintiff relator from

dismissing only part of an action, nothing in the FCA suggests that the Court must bind the

Government to an all-or-nothing dismissal approach. Merena indicates that Relators’ use of Bailey,

while understandable, is misplaced. True enough, the Fifth Circuit does not appear to have decided

that narrow question, nor has the Supreme Court. Nonetheless a close reading of Merena and the

structure of the FCA explains why the Government may partially dismiss claims in a qui tam action.

       Merena involved two issues, neither of which this case presents. The first “concern[ed] the

application of the relevant provision of the qui tam statute to a multi-count complaint” for purposes

of determining a relators’ entitlement to particular proceeds. Merena, 205 F.3d at 101–02. The

second involved “the interpretation of 31 U.S.C. § 3730(e)(4) and its relationship to the provision

governing awards to relators in cases in which the United States elects to proceed with the action,

31 U.S.C. § 3730(d).” Id. at 101 (cleaned up). The answers to those questions are not relevant here.




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What is relevant is the Third Circuit’s recollection of some of the FCA’s oddities. The Third

Circuit’s discussion of these nuances are what form the basis of the Government’s argument here.

        As then-Judge Alito observed when writing for the Third Circuit, “the draftsmanship of

the qui tam statute has its quirks.” Id. (citing United States ex rel. Mistick v. Housing Auth. of Pitt.,

186 F.3d 376, 387 (3d Cir. 1999)). “[O]ne of those quirks is that the statute is based on the model

of a single-claim complaint.” Id. (citing Mistick, 186 F.3d at 387). The Third Circuit recalled that

the district court below stated: “It would seem almost inevitable to me that at least in most qui tam

actions there would be allegations of multiple false claims alleged in a complaint.” Id. at 101–02

(internal quotations omitted). The Third Circuit expressed its inclination “to agree,” but then

acknowledged that the FCA “is phrased as if every qui tam complaint contained only one claim.”

Id. (cleaned up).

        To demonstrate that pattern, the Third Circuit methodically marched through the FCA.

See id. at 102–03. For example, it explained that the FCA allows a relator to “bring a civil action

for a violation of section 3729.’” Id. at 102 (quoting 31 U.S.C. § 3730(b)(1) (emphasis added)). But,

as the Third Circuit explained, “surely a plaintiff may bring an action containing multiple claims,

each of which alleges a separate violation of section 3279” Id. In fact, Relators did so in this case

(See Dkt. #114). Or, as the Third Circuit articulated, take as another example that:

        When a qui tam action is filed, the [G]overnment may “proceed with the action,”
        §§ 3730(b)(2) and (4), or “decline to take over the action,” §3730(b)(4)(B), but the
        [G]overnment often decided to take over only certain claims in a multi-claim action,
        and we are aware of no decision holding that this is improper.

Id. Most saliently here, the Third Circuit explained that:

        The [FCA] authorizes the [G]overnment to “dismiss the action” and “settle the
        action,” 31 U.S.C. § 3730(c)(2)(A) and (B), but again, we are aware of no decision
        holding that the [G]overnment may not settle or dismiss only some of the claims in


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       a multi-claim complaint, and we can think of no reason why the [G]overnment
       should not be permitted to do so.

Id. Indeed, as the Government points out, this Court has agreed with Merena’s analysis previously,

though in another context. See, e.g., United States ex rel. Fisher v. JPMorgan Chase Bank N.A., 413

F. Supp. 3d 569, 577 (E.D. Tex. 2019) (relying on Merena’s analysis in determining that “an

‘action’ under the original source exception can refer to a single claim in a multi-claim complaint”

and concluding that “a relator’s original source status is to be determined on a claim-by-claim

basis”). The Court has held before, and reaffirms today, consistent with its prior decisions that an

“action” as used in the FCA “is not to be rigidly interpreted as the filing of the original complaint”

or an entire suit. See id. Accordingly, the Court, like the Third Circuit in Merena, sees no reason

why the Government must take an all-or-nothing approach to dismissal under § 3730(c)(2)(A).

The Court will not require the Government to do so here.

       Relator may lament that this deviates from Fifth Circuit precedent—namely, Bailey. But

that position is too myopic. While the Fifth Circuit has not decided this narrow issue, the Fifth

Circuit seems to have cited Merena with approval. See, e.g., United States ex rel. Conyers, 108 F.4th

351, 357 n.7 (5th Cir. 2024) (internal citations omitted) (“As the Government points out, the FCA

frequently uses the terms ‘action’ and ‘claim’ interchangeably, since the statute is based on the

model of a single-claim complaint”). Relators also do not appreciate that Bailey is entirely

distinguishable. Therefore, consistent with the Court’s prior decisions, its previous reliance on

Merena, and the Fifth Circuit’s acknowledgment of the FCA’s statutory quirk of using “claim”

and “action” “interchangeably,” here, the Court holds that the Government may seek dismissal




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on a claim-by-claim basis. See Conyers, 108 F.4th at 357 n.7; Fisher, 413 F. Supp. 3d at 577; Merena,

205 F.3d at 101–02.6

                    3.       Dismissal of the Fisher Period Claims is Proper.

           These procedural squabbles decided, the Court finally turns to the crux of the issue at hand:

whether, under Polansky and Rule 41(a)(2), the Government’s Motion to dismiss the Fisher Period

claims should be granted. It should.

            The Court returns to the fundamental premise underlying its decision today: to be

successful in dismissing the Fisher Period claims, the Government must have “good grounds for

thinking that this suit would not do what all qui tam actions are supposed to do: vindicate the

Government’s interests.” Polansky, 599 U.S. at 438. Only in “extraordinary circumstances” will

the Government be unable to prevail on a motion to dismiss under § 3730(c)(2)(A). Id. A relator’s

“competing assessment” of whether a case should proceed, its underlying merits, or its value will

“not outweigh the Government’s reasonable view of the suit’s costs and benefits.” Id.

           Here, the Government submits several bases as good grounds for dismissing the Fisher

Period claims. First, the Government claims to have “evaluated the probability that [the Fisher

Period] claims will succeed” and weighed that probability “against the burdens to the

[Government] of Relators’ continued pursuit” of those claims (Dkt. #163 at p. 12). After engaging

in that cost benefit analysis, the Government has concluded that dismissal of the Fisher Period

claims is “in the interest in the United States” (Dkt. #163 at p. 12). Second, the Government avers

that it has considered the fact that the Fisher Period claims “were publicly and extensively litigated



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    The other cases Relators cite in furtherance of their argument that the Government may not dismiss an on a claim-
    by-claim basis do not change the Court’s analysis here. Neither CBX Resources nor Exxon involve qui tam suits. See
    generally CBX Res., 959 F.3d at 175–77; Exxon, 599 F.2d at 660–62.

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in Fisher before Relators initiated this lawsuit” (Dkt. #163 at p. 12). That, according to the

Government, is enough to meet the standard for dismissal under Rule 41(a)(2) and Fisher.

       A bit more detail might be useful in explaining the Government’s position. In the

Government’s view, Relators’ Fisher Period “claims against the RMBS Trust Defendants and

Defendant Ocwen reassert claims that have already been publicly and extensively litigated and

resolved through settlement in the [Government’s] favor in the Fisher case” (Dkt. #163 at p. 12).

According to the Government, information about conduct underlying the Fisher Period is already

public, and Relators do not add to that information (Dkt. #163 at p. 12). Instead, Relators’ Fisher

Period claims only bring a new allegation that the RMBS Trust Defendants are vicariously liable

(Dkt. #163 at p. 12). To the Government, the Fisher Period claims in this lawsuit are “copy-cat” of

Fisher and have a “low probability” of succeeding on the merits (Dkt. #163 at p. 12). At the same

time, those claims have created (and will continue to create) an “unusually high” burden for the

Government that it no longer wishes to carry (Dkt. #163 at pp. 12–13). The Government doubts

the likelihood that claims related to the Fisher Period will succeed given that the claims may be

barred by res judicata (Dkt. #163 at p. 13). Finally, the Government notes that Relators’ suit—and

particularly their Fisher Period claims—“have generated requests for extensive discovery to

numerous federal agencies . . . which have been and will continue to be burdensome” (Dkt. #163

at pp. 13–14). Because proceeding with the “numerous” Fisher Period claims is not only

“complex,” but unduly burdensome in the Government’s view, the Government’s cost-benefit

analysis has yielded its desire to dismiss the Fisher Period claims (Dkt. #163 at p. 14).

       Relators do not meaningfully argue that the Government lacks good grounds for dismissal.

Their arguments against dismissal are largely procedural, but the Court has dismissed those



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arguments. Instead, they argue, in line with Justice Kagan’s predication in Polansky that relators

generally resist dismissal and have “committed substantial resources” to litigation thus far, that

this late-in-the-game dismissal is prejudicial and wasteful of their efforts up to this point (Dkt. #181

at p. 14). Relators also offer a competing view of the case and question the veracity of the

Government’s views. Specifically, they argue that the “Government’s alleged burdens are

unsupported by any evidence and its allegation of possible future burdens is merely speculative”

(Dkt. #181 at p. 14).

       More importantly, Relators argue that the Court, should it dismiss the Fisher Period claims,

will be reneging its prior decision that Relators are entitled to discovery before the Court decides

whether the Fisher Period claims are barred by res judicata (Dkt. #181 at p. 14; Dkt. #70 at p. 10).

On that note, Relators claim that the Trust Defendants’ res judicata argument against the Fisher

Period claims is now before the Court via the Trust Defendants’ Motion for Partial Summary

Judgment (Dkt. #161). Because the Government filed its Motion after the Trust Defendants

asserted the Fisher Period claims are barred by res judicata via their motion for partial summary

judgment, Relators assert that “the Government seeks to wrest the gavel from the Court and

prevent it from resolving the issues currently before it” (Dkt. #181 at p. 15). Relators suggest that

the Court’s approval of the Government’s request would somehow be tantamount to an

unconstitutional abdication of its role to decide issues before it (Dkt. #181 at p. 15). Namely,

Relators argue that “[s]uch deference to the Executive Branch would abdicate the judicial power

vested in the court, allow the Government to vitiate Relators’ Seventh Amendment right to a trial

by jury, and violate the separation of powers doctrine” (Dkt. #181 at p. 15).




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       The Court maintains a tight grasp on its gavel. And the Government’s Motion—which it

has the exclusive statutory ability to file—can in no way be construed as a crafty attempt to

aggrandize the Executive Branch with judicial power in violation of the separation of powers. Nor

can it be construed as an attempt to deprive Relators of their right to a jury trial. Intervention and

dismissal is statutorily permissible and practically commonplace. The Court also understands its

role. The Court is bound to give fidelity to the text of the law. Martinez v. Tyson Foods, Inc., 533 F.

Supp. 3d 386, 394 (N.D. Tex. 2021) (“[T]his Court and all courts must apply the text of the law,

not alter it.”) (citation omitted). The Court has a duty to follow binding precedent. Ibarra v. Port

of Houston Auth. of Harris Cnty., 526 F. Supp. 3d 202, 216 (S.D. Tex. 2021) (“At the end of the

day, this court's role is to adhere to the precedent before it.”). Relators’ arguments are against

both. The FCA and the Supreme Court’s holding in Polansky compel the Court to permit the

Government to dismiss the Fisher Period claims.

       Good grounds anchor the Government’s request for dismissal. The Supreme Court has

acknowledged that it “has never set out a grand theory of what . . . Rule [41(a)] requires” and

declined to do so in Polansky. 599 U.S. at 437. “The inquiry is necessarily ‘contextual.’” Id. “And

in this context, the Government’s views are entitled to substantial deference.” Id. Like Polansky,

here, the Government conducted a cost-benefit analysis and determined that proceeding with the

Fisher Period claims is not in the Government’s interest (Compare id. at 438, with Dkt. #163 at pp.

11–14). The Government explained that the burden associated with litigating the Fisher Period

claims has been “unusually high” (Dkt. #163 at p. 12). In Polansky, the Government explained

“why it had come to believe that the suit had little chance of success on the merits.” Polansky, 599

U.S. at 438. The same is true here. The Government explained why it fears proceeding with the



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Fisher Period claims will likely not be successful on the merits—res judicata (compare id., with Dkt.

#163 at p. 13). Taken together, that is enough. See Polansky, 599 U.S. at 438.

       A look at caselaw beyond Polansky does not change the Court’s conclusion. The Trust

Defendants claim that “every identifiable § 3730(c)(2)(A) motion since the Supreme Court’s

decision in Polansky has been granted, even where the relator(s) opposed the Government’s

motion” (Dkt. #179 at p. 4) (cleaned up). The Trust Defendants then list seventy-two cases in

support of that bold premise (See Dkt. #179 at pp. 5–10) (collecting cases). Regrettably, the Trust

Defendants only list those cases. While not a model of written advocacy, it is clear that the Trust

Defendants’ are correct. Of the seventy-two cases the Trust Defendants cite, sixty-one of them

are irrelevant because they were decided before Polansky. None of the remaining eleven cases

decided post-Polansky are Fifth Circuit cases. The Trust Defendants cite one pre-Polansky Fifth

Circuit case. One is, but it predates Polansky. See United States ex rel. Health Choice All. LLC v. Eli

Lilly & Co., Inc., No. 5:17-CV-00123, 2019 WL 4727422 (E.D. Tex. Sept. 27, 2019), aff’d, 4 F.4th

255 (5th Cir. 2021). That case is not persuasive here, because, instead of using Polansky’s test, it

assumed “without deciding” that the Ninth Circuit’s “more burdensome” test for determining

whether the Government may dismiss a qui tam case applied. See id. at 267. The Court must focus

the inquiry on cases that apply the Polansky standard.

       The Trust Defendants suggest the Court weigh this case against Jackson (Dkt. #179 at p.

6). Though post-Polansky and therefore temporally applicable, Jackson still falls short of being a

helpful heuristic here. There, the Government sought dismissal pre-answer and pre-summary

judgment. Jackson, 744 F. Supp. 3d at 690. Accordingly, the only real dismissal-related question

the district court had to answer was whether, under Rule 41(a)(1)(A)(i), the FCA’s procedural



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requirements had been satisfied. Id. (citing 31 U.S.C. § 3730(c)(2)(A)). The Court’s inquiry here

occurs post-answer and post-summary judgment (See Dkt. #152; Dkt. #153; Dkt. #154; Dkt. #155;

Dkt. #156; Dkt. #161).

       The most recent Fifth Circuit case involving voluntary dismissal—Vanderlan—is helpful,

but still not the best corollary because it did not address a Rule 41(a)(2) motion. 2025 WL 1143390,

at *1, *6. There, the Government sought to dismiss qui tam claims due to its believe that the suit

“would interfere with administrative settlement negotiations and lacked merit.” Id. at *3. The

district court granted the Government’s motion to dismiss under Rule 41(a)(1). Id. The Court of

Appeals addressed numerous issues on appeal (including, as mentioned above, § 3730(c)(2)(A)’s

hearing requirement). Id. As relevant to the Court’s analysis here, the Fifth Circuit affirmed the

district court’s discretionary decision to dismiss the qui tam claims in line with Polansky, and

applying even more deference to a motion to dismiss under Rule 41(a)(1). Id. In so doing, the Fifth

Circuit acknowledged the deference the Court is to grant the Government in seeking intervention

under Rule 41(a)(2). See id.

       Lacking a Fifth Circuit post-Polansky cognate that contemplates § 3730(c)(2)(A) dismissal

under Rule 41(a)(2), the Court turns to persuasive authority to see if it changes the Court’s

assessment. It does not. For example, the district court for the Northern District of Ohio applied

Polansky and Rule 41(a)(2) to permit the Government to dismiss a qui tam case on terms similar to

those the Government offers here. See United States ex rel. USN4U, LLC v. Wolf Creek Fed. Servs,

No. 1:17-CV-0558, 2023 WL 8480085, at *3 (N.D. Ohio Dec. 7, 2023), aff’d sub nom. United States

ex rel. USN4U, LLC, No. 24-3022, 2025 WL 1009012 (6th Cir. Mar. 31, 2025). There, the

Government’s chief concern was the merits of the case and questionable credibility of the evidence



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supporting the claims. Id. The district court deferred to the Government’s cost-benefit analysis

and dismissed the case under Rule 41(a)(2). Id. Similarly, a Magistrate Judge in the District of

Columbia has recommended dismissal under Rule 41(a)(2) under like circumstances. See United

States ex rel. Vermont Nat’l Tel. Co. v. Northstar Wireless, LLC, No. 15-CV-728-CKK-MAU, 2025

WL 1113407, at *8 (D.D.C. Apr. 15, 2025).

       At bottom, the reasons the Government seeks to dismiss claims from the Fisher Period are

almost identical to those the Government offered in Polansky. The Court sees no reason to deny

the Government’s Motion here. And while the inquiry the Court conducts today must consider

Relators’ positions, Relators’ “competing assessment” cannot supersede the Government’s

decision here. See Polansky, 599 U.S. at 438. Relators’ argument that dismissal of the Fisher Period

claims would render wasteful their efforts to litigate the case up to this point fall flat. Expenditure

of substantial resources is not unique in qui tam cases. See Polansky, 599 U.S. at 437. And a qui tam

relator ought to be aware of the gamble they take in asserting the interest on the Government’s

behalf—the Government has a broad ability to intervene in such actions. Though the Court’s role

includes a consideration of Relators’ interests, that consideration does not overshadow the

Supreme Court’s mandate that “[i]f the Government offers a reasonable argument for why the

burdens of continued litigation outweigh its benefits, the court should grant the motion. And that

is so even if the relator presents a credible assessment to the contrary” Id. at 437–38. Certainly,

this case does not present the kind of “extraordinary circumstance” where the Court should deny

the Government its due deference. See id. Relators’ Hail-Mary argument suggesting that the

Government is engaged in a constitutional chess game is simply incorrect. If the Government is

permitted to dismiss (as it may under the FCA) the Court need not resolve whether pursuit of



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those claims is barred by res judicata simply because that issue would simply be moot. That is a far

cry from constitutional crisis. It is simply the reality of litigation.

        Having determined that the Government has carried its burden to show good cause to

intervene in part and dismiss in part claims related to the Fisher Period, and having determined

that 31 U.S.C. 3730(c)(2)(A)’s procedural requirements of notice and opportunity for a hearing

have been fulfilled, the Court determines that the Government’s Motion should be granted. All

claims from the Fisher Period are hereby dismissed with prejudice as to Relators and without

prejudice to the United States.

III.    Disputes Now Moot

        It is axiomatic that the Court’s dismissal of the Fisher Period claims renders moot several

motions:

        1. The Trust Defendants’ Motion for Partial Summary Judgment on Res Judicata
           Grounds for Claims based on Conduct through February 17, 2017 (Dkt. #161);
        2. The Trust Defendant’s Motion for Partial Stay Pending Resolution of United
           States’ Motion to Intervene in part and to Dismiss in part Pursuant to 31 U.S.C.
           § 3730(c)(2)(A) (Dkt. #171); and
        3. The Relators’ Rule 56(d) Motion to Defer the Court’s Ruling on Trust
           Defendant’s Motion for Partial Summary Judgment on Res Judicata Grounds
           for Claims Based on Conduct Through February 17, 2017 (Dkt. #183).

        Addressing each briefly in turn, the Trust Defendants’ Motion for Partial Summary

Judgment contemplates claims based on conduct that occurred during the Fisher Period (See

generally Dkt. #161). Because this Order dismisses those claims under Rule 41(a)(2), the Trust

Defendants’ Motion to dispose those claims by another function (res judicata) is moot. Similarly,

the Trust Defendants’ Motion for partial stay pending resolution of the Government’s Motion

(Dkt. #171) is moot because, by this Order, the Court has resolved the Government’s Motion.

Similarly, Relators’ Motion to Defer (Dkt. #183) is moot because, again, by this Order, the Court

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    has resolved the Government’s Motion. In short, each of the Motions above hinged on the

    resolution of the Government’s Motion, (Dkt. #163). With that dispute resolved, so are these.

                                           CONCLUSION

           It is therefore ORDERED that the United States’ Motion to Intervene in part and to

    Dismiss in part pursuant to 31 U.S.C. § 3730(c)(2)(A) (Dkt. #163) should be granted. Accordingly,

    Relators claims against any Defendant in this action for violations of the FCA that accrued on or

    before February 17, 2017 (the Fisher Period) are hereby DISMISSED with prejudice as to

    Relators and DISMISSED without prejudice as to the United States. It is also ORDERED that

    The Trust Defendants’ Motion for Leave to File Sur-Reply in Support of United States’ Motion

    to Intervene in Part and to Dismiss in Part Pursuant to 31 U.S.C. § 3730(c)(2)(A) (Dkt. #197)

    should be granted. It is further ORDERED that:

           1. The Trust Defendants’ Motion for Partial Summary Judgment on Res Judicata
              Grounds for Claims based on Conduct through February 17, 2017 (Dkt. #161)
              should be denied as moot.
           2. The Trust Defendant’s Motion for Partial Stay Pending Resolution of United
              States’ Motion to Intervene in part and to Dismiss in part Pursuant to 31 U.S.C.
              § 3730(c)(2)(A) (Dkt. #171) should be denied as moot.
.
           3. The Relators’ Rule 56(d) Motion to Defer the Court’s Ruling on Trust
              Defendant’s Motion for Partial Summary Judgment on Res Judicata Grounds
              for Claims Based on Conduct Through February 17, 2017 (Dkt. #183) should be
              denied as moot.

           IT IS SO ORDERED.
           SIGNED this 2nd day of May, 2025.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE


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